4:11-cr-00041-RGK-CRZ              Doc # 99   Filed: 10/23/12    Page 1 of 1 - Page ID # 371


                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )          4:11CR41
                      Plaintiff,                 )
                                                 )
       vs.                                       )          MEMORANDUM
                                                 )          AND ORDER
VICTOR S. ZUNIGA-VALENCIA,                       )
                                                 )
                      Defendant.                 )

       Although improperly described as a Motion for Downward Departure, the government
has in effect filed a motion for reduction of sentence pursuant to Federal Rule of Criminal
Procedure 35(b) (filing 96). Accordingly,

       IT IS ORDERED that:

         (1)   Counsel for the defendant, if previously appointed pursuant to the Criminal Justice
Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If retained,
counsel for the defendant remains as counsel for the defendant until the Rule 35(b) motion is
resolved or until given leave to withdraw.

       (2)     The Federal Public Defender shall provide CJA counsel with a new voucher.

       (3)    The Clerk of the Court shall provide a copy of this order to counsel for the
government and counsel for the defendant. The undersigned’s judicial assistant will provide a
copy to the Federal Public Defender.

       (4)    Counsel for the defendant shall confer with his or her client and counsel for the
government, and then contact my judicial assistant Kris Leininger (402-437-1640) to arrange a
hearing date. If the defendant wishes to appear by phone, defense counsel is responsible for
making the arrangements with the Bureau of Prisons and for providing the phone number at
which the defendant may be reached.

       Dated October 23, 2012.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              Senior United States District Judge
